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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 11

FTX TRADING LTD., et al., 1                                    Case No. 22-11068 (JTD)

         Debtors.                                              (Jointly Administered)

                                                               Ref. No. 702

    NOTICE OF PROPOSED SALE OF CERTAIN ASSETS FREE AND CLEAR OF ANY
               LIENS, CLAIMS, INTERESTS AND ENCUMBRANCES

                PLEASE TAKE NOTICE that on November 11 and November 14, 2022, FTX
Trading Ltd. (“FTX Trading”) and its affiliated debtors and debtors-in-possession (the
“Debtors”) filed voluntary petitions for relief under title 11 of the United States Code, 11 U.S.C.
§§ 101 et seq. (the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of
Delaware (the “Court”).

               PLEASE TAKE FURTHER NOTICE that on January 18, 2023, the Debtors
filed the Motion of Debtors for Entry of an Order (I) Authorizing and Approving Procedures for
the Sale or Transfer of Certain De Minimis Assets and Fund Assets and (II) Approving
Assumption, Assignment and Rejection Procedures and (III) Granting Related Relief [D.I. 525]
(the “Motion”) 2 with the Court seeking entry of an order, among other things, approving the sale
of the Debtors’ De Minimis Assets and Fund Assets free and clear of any liens, claims, interests
and encumbrances.

                PLEASE TAKE FURTHER NOTICE that on February 13, 2023, the Court
entered an order (the “Order”) [D.I. 702] approving, among other things, certain procedures for
the sale or transfer of De Minimis Assets (the “De Minimis Sale Procedures”) and Fund Assets
(the “Fund Asset Sale Procedures”), which establish the notice and hearing requirements related
to the De Minimis Asset Sales and the Fund Assets Sales.

               PLEASE TAKE FURTHER NOTICE that pursuant to the Order, the Debtors
proposed to sell or transfer certain assets (the “Assets”) to Amalgamated Token Services Inc.
(the “Purchaser”) free and clear of any liens, claims, encumbrances and other interests pursuant
to section 363(f) of the Bankruptcy Code, pursuant to an agreement dated February 6, 2024 (the


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     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
     and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
     the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
     complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
     Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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     All capitalized terms used but otherwise not defined herein shall have the meanings set forth in the Motion.
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“Sale Agreement”). This Notice is being provided in accordance with and sets forth the
information required under the Order. 3

                Description of the Assets. The Assets consist of all of the outstanding equity
interests in Digital Custody Inc., a Delaware corporation (the “Company”) and all of the equity
interests in FTX Vault Trust Company, a South Dakota non-depository public trust company
held by the Company.

                 Material Economic Terms and Conditions of the Proposed De Minimis
Asset Sale. The Debtors propose to sell or transfer the Assets to the Purchaser on an “as is”
basis (if applicable), free and clear of all liens or encumbrances therein, pursuant to section
363(f) of the Bankruptcy Code.

             The Purchaser has agreed to pay a purchase price of $500,000, plus the Acquired
Cash Amount set forth in Section 1.4 of the Sale Agreement for the Assets.

                The Confirmed Investment Value of such Assets in the Debtors’ books and
records is $10,000,000.

                PLEASE TAKE FURTHER NOTICE that responses or objections (the
“Objections”), if any, to the proposed De Minimis Asset Sale or Fund Asset Sale, as applicable,
must be filed electronically with the Court on the docket of In re FTX Trading, LTD., et al., Case
No. 22-11068 (JTD), in accordance with Local Rule 5005-4, and must (a) be in writing and
specify the nature of such objection; (b) state, with specificity, the legal and factual bases
thereof; (c) comply with the Bankruptcy Code, Bankruptcy Rules, Local Rules and the Order and
(d) be filed with the Court and served (which service can be by email) on (x) counsel to the
Debtors, (1) Sullivan & Cromwell LLP, 125 Broad Street, New York, New York 10004, Attn:
Andrew G. Dietderich (dietdericha@sullcrom.com), Mitchell S. Eitel (eitelm@sullcrom.com),
Audra D. Cohen (cohena@sullcrom.com) and Brian E. Hamilton (hamiltonb@sullcrom.com)
and (2) Landis Rath & Cobb LLP, 919 N. Market St., Suite 1800, Wilmington, Delaware 19801,
Attn: Adam G. Landis (landis@lrclaw.com) and Kimberly A. Brown (brown@lrclaw.com), and
(y) counsel to the Official Committee, (1) Paul Hastings LLP, 200 Park Avenue, New York,
New York 10166, Attn: Kristopher M. Hansen (krishansen@paulhastings.com), Luc A. Despins
(lucdespins@paulhastings.com), Erez E. Gilad (erezgilad@paulhastings.com)¸ Gabriel E. Sasson
(gabesasson@paulhastings.com) and Samantha Martin (samanthamartin@paulhastings.com) and
(2) Young Conaway Stargatt & Taylor, LLP, 1000 North King Street, Wilmington, Delaware,
19801, Attn: Matthew B. Lunn (mlunn@ycst.com) and Robert F. Poppiti, Jr.
(rpoppiti@ycst.com), within ten days following the date of this Sale Notice at 4:00 p.m.
(prevailing Eastern Time) (the “Sale Objection Deadline”).



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    On February 9, 2024, the Debtors filed the Motion of Debtors for Entry of an Order (I) Authorizing and
    Approving Sale of Interests in Digital Custody Inc. Free and Clear of All Liens, Claims, Interests and
    Encumbrances; (II) Authorizing and Approving Entry Into, and Performance Under, the Purchase and Sale
    Agreement; (III) Authorizing Debtors to File Certain Schedules to the Purchase and Sale Agreement Under
    Seal; and (IV) Granting Related Relief [D.I. 7249], which was subsequently withdrawn by the Debtors on
    February 23, 2024.


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                PLEASE TAKE FURTHER NOTICE that only those responses or objections
that are timely filed, served and received will be considered. Absent order of the Court to the
contrary, any party failing to timely file and serve an Objection on or before the Sale
Objection Deadline in accordance with the Order and this Notice shall be forever barred
from asserting any objection to the De Minimis Asset Sale or Fund Asset Sale, as
applicable, including with respect to the sale or transfer of the assets free and clear of any
liens, claims, encumbrances and other interests.

         PLEASE TAKE FURTHER NOTICE that this Notice is subject to the fuller terms and
conditions of the Motion and the Order, with such Order controlling in the event of any conflict,
and the Debtors encourage parties-in-interest to review such documents in their entirety. Copies
of the Motion and the Order, as well as all related exhibits, including all other documents filed
with the Court, are available (i) free of charge from the website of the Debtors’ claims and
noticing agent, Kroll Restructuring Administration (“Kroll”), at
https://restructuring.ra.kroll.com/FTX and (ii) for a fee on the Court’s electronic docket for these
Chapter 11 Cases at www.deb.uscourts.gov (a PACER login and password are required and can
be obtained through the PACER Service Center at www.pacer.psc.uscourts.gov). Documents
relating to the Sale(s), including the Motion and the Order, can be accessed at
https://restructuring.ra.kroll.com/FTX. In addition, copies of the Motion and the Order may be
requested from Kroll by email at FTXInfo@ra.kroll.com or by phone at 888-482-0049
(US/Canada Toll-Free); 646-440-4176 (International).




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Dated: March 22, 2024             LANDIS RATH & COBB LLP
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                                  -and-

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                                  Counsel for the Debtors
                                  and Debtors-in-Possession




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